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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is DENIED.



  Dated: October 11, 2019
                                                    ________________________________________
                                                                 TONY M. DAVIS
                                                       UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________


                            IN THE UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF TEXAS




                                                     D
                                        AUSTIN DIVISION

  IN RE:                                        §
                                                §           CHAPTER 7
  ORLY GENGER,                                  §

           Debtor.
                                    IE          §
                                                §
                                                            CASE NO. 19-10926-TMD


      ORDER GRANTING EXPEDITED MOTION TO EXTEND THE DEADLINE TO
     RESPOND TO THE APPLICATION UNDER FEDERAL RULE OF BANKRUPTCY
       PROCEDURE 9019 AND LOCAL RULE 9019 TO APPROVE COMPROMISE
 EN
           The Court has considered the Motion to Extend the Deadline to Respond to the

  Application Under Federal Rule of Bankruptcy Procedure 9019 and Local Rule 9019 to Approve

  Compromise (the “Motion”). The Court, having considered the Motion, the responses, if any, the

  documents, motions, and pleadings on file, and arguments of counsel, if any, is of the opinion

  that the Motion is meritorious and, therefore, it is hereby GRANTED.
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           IT IS THEREFORE ORDERED that the Motion is hereby GRANTED;

           IT IS FURTHER ORDERED that the deadline for all parties to file a response to the

  Application Under Federal Rule of Bankruptcy Procedure 9019 and Local Rule 9019 to Approve



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  Compromise is November 18, 2019.

                                        ###



  Proposed Order Submitted by:

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                                              D
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D



  {01519/0001/00241186.1}                2
